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                  IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF MARYLAND

DANA M. MERCHANT                                 *

        Plaintiff                                *

        v.                                       * Civil Action No.: 1:17-cv-2146

DEPARTMENT STORES NATIONAL *
BANK, a subsidiary of Citibank, N.A.
                                     *
    Defendant
                                     *

*       *     *     *    *     *       *         *     *     *     *      *     *


             LINE REQUESTING LOCAL RULE 111 ORDER


        As Plaintiff, Dana Merchant and Defendant, Equifax Information

Services LLC, have reached a settlement, Plaintiff’s counsel respectfully

requests, with the consent of counsel for the Defendant, that the Court issue

a 30 day Local Rule 111 settlement order.

Dated: November 28, 2017

                                               Respectfully Submitted,

/s/ E. David Hoskins                           /s/ Nathan D. Adler (w/permission)
E. David Hoskins, No. 06705                    Nathan D. Adler
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